
After Remand from Supreme Court
RICHARD L. HOLMES, Retired
Appellate Judge.
The prior judgment of this court has been affirmed in part, reversed in part, and remanded by the Supreme Court of Alabama. On remand to this court, and in compliance with the supreme court’s opinion of June 16, 1995, 668 So.2d 552, the judgment is now reversed and the case is remanded to the trial court for proceedings consistent with the supreme court’s opinion of June 16, 1995.
The foregoing opinion was prepared by Retired Appellate Judge RICHARD L. HOLMES while serving on active duty status as a judge of this court under the provisions of § 12-18-10(e), Ala.Code 1975.
REVERSED AND REMANDED.
All the Judges concur.
